Case 1:21-cr-00083-TNM Document 65-3 Filed 12/22/21 Page 1of1

AUSA: Mona Lee M. Furst
Made Available December 9, 2021
Return to GEOFFREY K. GORUP

DEPARTMENT OF JUSTICE RECEIPT

Re: United States v. Brandon Fellows
Case No. 21-CR-83-TNM

I hereby acknowledge receipt of three thumb drives in connection with the above-
referenced prosecution. I understand it is the responsibility of the Department of Corrections for
the District of Columbia to make the materials contained in the thumb drives available to Mr.

Fellows in accordance with current policies and procedures.

12 bo lof El Mam MP

Date / / Printed/Name:

Hand Delivered by:

Name Printed: CAL a

Wreck Fite s army

